  Case: 1:11-cr-00012-SL Doc #: 919 Filed: 06/13/17 1 of 2. PageID #: 4403




                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )       CASE NO. 1:11CR12-11
                                            )
                       PLAINTIFF,           )       JUDGE SARA LIOI
                                            )
vs.                                         )
                                            )       ORDER ON VIOLATION OF
                                            )       CONDITIONS OF SUPERVISED
                                            )       RELEASE
KYRON MARLIN,                               )
                                            )
                      DEFENDANT.            )


       A violation report was filed in this case on December 20, 2016. The Court

referred this matter to Magistrate Judge Jonathan D. Greenberg to conduct the

appropriate proceedings and to file a report and recommendation. The Magistrate Judge

reported that a supervised release violation hearing was held on May 25, 2017. Counsel

for the government withdrew Violation No. 1—new law violation. A hearing then

proceeded on Violation No. 2—constructive possession of a firearm; and Violation No.

3—constructive possession of a controlled substance.

       The Magistrate Judge filed a report and recommendation on May 26, 2017, in

which the Magistrate Judge recommended that the Court find that the defendant has

violated the conditions of his supervision as to Violation Nos. 2 and 3.

       A final supervised release violation hearing was conducted on June 13, 2017.

Defendant Kyron Marlin was present and represented by Attorney Mark Mariotti. The

United States was represented by Assistant United States Attorney Joseph Pinjuih.
  Case: 1:11-cr-00012-SL Doc #: 919 Filed: 06/13/17 2 of 2. PageID #: 4404




United States Probation Officer Anna Newman was also present at the hearing.

        No objections were filed to the report and recommendation of the Magistrate

Judge. Upon review, the Court adopts the report and recommendation of Magistrate

Judge Greenberg and finds the defendant to be in violation of his terms and conditions of

his supervised release as to Violation Nos. 2 and 3. Counsel for the government withdrew

Violation No. 1.

        IT IS ORDERED that the defendant's term of supervised release is revoked and

the defendant is sentenced to the custody of the Bureau of Prisons for a term of twenty-

four (24) months.

        Upon release from imprisonment, the defendant shall serve a term of supervised

release of three (3) years, with the same terms and conditions of supervised release as

previously ordered, and with the following additional condition: Cognitive Behavioral

Treatment—The defendant must participate in a cognitive-behavioral treatment program

and follow the rules and regulations of that program. The probation officer will supervise

the defendant’s participation in the program (provider, location, modality, duration,

intensity, etc.).

        Defendant remanded to the custody of the U.S. Marshal.

        IT IS SO ORDERED.


Dated: June 13, 2017
                                                HONORABLE SARA LIOI
                                                UNITED STATES DISTRICT JUDGE




                                            2
